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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                      Index No. 20-CV-8924(CM)(GWG)
2020 Demonstrations

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              DECLARATION OF LOUIS ANEMONE IN SUPPORT OF POLICE
               BENEVOLENT ASSOCIATION’S OPPOSITION TO PROPOSED
                                SETTLEMENT

                  LOUIS ANEMONE affirms as follows under penalty of perjury, pursuant to 28

U.S.C. § 1746:

         1.       I served over 35 years in the New York City Police Department (“NYPD”) and

retired as Chief of Department in 1999.

         2.       I submit this Declaration in support of the Police Benevolent Association

(“PBA”)’s opposition to the proposed settlement in the consolidated matters captioned above

(the “Proposed Settlement”, annexed hereto at Exhibit A).

         3.       My statements in this declaration are based on 35 years of experience planning,

staffing, training, attending, supervising and critiquing the NYPD’s response to public protests.1

The total number of such events I have participated in is certainly over 350.

         4.       Based on my extensive experience, I recognize acute risks to the safety of police

officers, protestors, and other members of the public, should the Proposed Settlement be

approved.

         5.       As discussed more fully below, the Proposed Settlement will:


1
  As addressed at p. 9, fn. 1 of the PBA’s accompanying memorandum of law, the Proposed
Settlement’s definition of “First Amendment Activities” appears to be so broad that it would at
least arguably apply not only to virtually all protests, but to all public gatherings. For purposes
of this declaration, I will employ the term “Protest” to describe the events being discussed.
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                        Present a significant risk of serious injury to police officers, protestors,
                         and the public, in light of several factors, including delays associated
                         with requiring a Senior Executive who may not be on the scene to
                         decide what tactics and tier should be utilized in the field;

                        The above risks are further compounded when the Senior Executive
                         must manage multiple requests, from multiple Incident Commanders,
                         from multiple protest locations throughout the City, including moving
                         protests, occurring at night, involving violence, and using multiple
                         staging locations. As difficult as it may be for one Incident Commander
                         to notify the Senior Executive in a timely manner, and/or request
                         permission to move to another tier, deploy SRG, or make other tactical
                         authorizations, these difficulties are heightened when dealing with
                         multiple incidents;

                        Increase safety risks to police officers, protestors, and the public arising
                         out of not having sufficient resources deployed at the beginning of the
                         event where the mere presence of police officers or verbal commands
                         might have ensured a violence free event;

                        Pose significant risks to injury of police officers, protestors, and the
                         public due to provisions of the agreement that require delaying traffic
                         for the protestors, allowing the protest to continue after protesters have
                         been ordered to disperse, or allowing a protest to continue while serious
                         crimes are being committed.

        6.     I set forth the reasons for these statements below, after briefly summarizing my

background, training and experience.

I.      BACKGROUND, TRAINING AND EXPERIENCE

        7.     I joined the NYPD in December 1964 as a Police Trainee and was appointed as a

probationary patrolman upon turning 21. From the beginning of my career, I was trained in tactics

for disorder control by the Police Academy Firearms and Tactics Section and the Emergency

Service Unit. I performed police duty as a patrolman, at protests throughout Brooklyn and

Manhattan from 1967-1973.




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        8.      I was promoted to Sergeant in June 1973 and recertified as a member of the

disorder control staff. As a sergeant I supervised police officers performing duty at protests

throughout Manhattan.

        9.      I was promoted to Lieutenant in November 1977, and I supervised police

operations at multiple protests throughout Manhattan.

        10.     I was promoted to Captain in 1982 and was trained and certified as an NYPD

“Incident Commander” and NYC “On Scene Coordinator” in 1982, 1984, and 1986 by the Police

Academy and the Special Operations Division. In May 1989, I was promoted to Deputy Inspector

and to Inspector a year later. In 1992, I was selected as a member of the disorder control staff for

the NYPD, with teaching responsibilities at the Police Academy for newly promoted Captains.

        11.     As Chief of Patrol in January 1994, and subsequently as Chief of Department in

January of 1995, I played a major role in the planning, staffing and reviewing of police

deployments to all types of protests, as well as parades, presidential visits, UN General Assembly,

Fourth of July Fireworks Displays, and other major sporting and entertainment events. In

addition, my team and I drafted NYPD’s policies, duties, responsibilities, tactics, and

mobilization levels to respond to civil disorders.

        12.     I retired on July 9, 1999, as Chief of Department, the highest-ranking sworn

member of the NYPD.




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II.       THE TIERED RESPONSE STRUCTURE

          13.     I summarize here details of the tiered response structure that are most pertinent to

 my analysis and conclusions.

          A. Tier I

          14.     Tier I “applies, and should presumptively apply, to all First Amendment Activity

 (“FAA”), unless thresholds for another tier apply and/or protesters specifically request the

 presence of officers.” ¶38. “FAA” as defined in the Stipulation, includes “any protest or

 demonstration at which individuals are expressing their rights under the First Amendment to the

 United States Constitution and Article I, Section 8 of the New York State Constitution.” ¶ 6.

          15.     At Tier I, only Community Affairs officers may be deployed (¶40(a)), unless “an

 FAA temporarily blocks vehicular or pedestrian traffic or otherwise obstructs public streets or

 sidewalks”. ¶41.

          16.     In that event, the NYPD “may deploy patrol officers to reroute vehicular or

 pedestrian traffic” but 1) “shall dispatch no more patrol officers than necessary”, and 2) may not

 dispatch members of the SRG unless “an FAA is so large or occurs in such a manner as to

 obstruct access to critical infrastructure . . . and rerouting vehicular or pedestrian traffic is not

 adequate to address the obstruction”. Id. Before any such deployment to protect threatened

 critical infrastructure, “protest liaisons shall endeavor to negotiate an alternative route or location

 with participants in the FAA, when feasible”. Id.

          17.     At all times in Tier I, officers cannot make arrests for “Red Light” offenses -- riot,

 incitement to riot, non-violent obstruction of governmental administration, violation of

 emergency orders, disorderly conduct, trespass, criminal mischief 3 or 4, New York State Vehicle




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and Traffic Law 1156(a) (pedestrians on roadways), or unlawful assembly without the approval of

someone at the rank of Captain or above. Id.; see also ¶¶28-31.

        18.     The NYPD may move to Tier II only if:

        the Incident Commander, in consultation with the FAA Senior Executive,
        reasonably believes that Green Light violations are imminent but have not yet
        occurred or that the FAA is so large or occurs in such a manner that creates a risk
        of obstructing access to critical infrastructure . . . such that it is reasonably
        anticipated that the deployment of additional officers may become necessary, and
        that the risk of obstructing access cannot be relieved by directing individuals to
        alternate entrances and exits of the critical infrastructure location.
¶43.

        19.     At Tier II, The NYPD may station additional officers only a) off scene, or b) if the

Incident Commander reasonably believes that there is a threat of major property damage and/or

violence that additional officers will deter, in which case the “resources deployed shall be

proportional and no more than necessary to address the imminent threat . . . [and] shall be

removed when the threat has resolved.” ¶47.

        B. Tier III

        20.     Only the Incident Commander may authorize moving to Tier III, and may do so

only “if there is individualized probable cause to arrest individuals who are engaged in Green

Light offenses or authorized Red Light offenses.” ¶¶49-50. In that event, the NYPD is limited to

deploying only “an appropriate number of officers sufficient to address the specific individuals

engaged in Green Light offenses or authorized Red Light offenses.” ¶51.

        21.     Only the FAA Senior Executive may authorize the deployment of “specialized

formations and/or equipment” at Tier III, s/he must do so only “in a manner consistent with

ensuring the safety and continuity of the FAA”, and such deployment is allowed only “for as long

as is necessary to address the conditions that they were deployed to address.” ¶53.




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          C. Tier IV

          22.     The NYPD is permitted to move to Tier IV only if jointly authorized by the FAA

  Senior Executive in consultation the Incident Commander (¶58), and then only if 1) “protesters

  are seeking to gain unauthorized entry, or physically blocking others’ entry, into a sensitive

  location or engaged in a criminal offense of trespass in the third degree or higher; 2) officers have

  engaged in targeted efforts to address widespread Green Light offenses, or widespread instances

  of riot, incitement to riot, or engaging or preparing to engage in violent or tumultuous conduct

  within the meaning of the unlawful assembly statute, but those offenses continue unabated and

  cannot be addressed through further de-escalation or targeted enforcement; 3) there is probable

  cause sufficient to establish widespread Green Light offenses, or widespread instances of riot,

  incitement to riot, or engaging in or preparing to engage in violent and tumultuous conduct within

  the meaning of the unlawful assembly statute, and there was no viable opportunity to address

  those widespread offenses through further de-escalation or targeted enforcement.” ¶¶56-57.

III.      THE PROPOSED SETTLEMENT INCREASES RISKS TO POLICE OFFICERS,
          PROTESTORS AND THE PUBLIC

          23.     The power and duties of the NYPD are defined at § 435 of the New York City

  Charter, which reads in relevant part as follows:

          The Police Department and force shall have the power and it shall be their duty to
          preserve public peace; prevent crime; detect crime; detect and arrest offenders;
          suppress riots, mobs and insurrections; Disperse unlawful or dangerous
          assemblages and assemblages which obstruct the free passage of public streets,
          sidewalks, parks, and places.

          24.     The Proposed Settlement would limit police actions, delay police response, and

  limit numbers of and equipment available to officers deployed. As discussed below, this will

  conflict with the above Charter mandate, the Seven C’s of Critical Incident Management, and the




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Use of Force Continuum, leading to a significant risk of injury to police officers, protestors, and

the public.

        A.      The Seven C’s of Critical Incident Management

        25.     The Seven C’s have been used and embodied in the Critical Incident Management

Systems utilized at local, New York State and federal levels for decades.2 These Seven C’s are

COMMAND, CONTROL, COMMUNICATION, CONTAINMENT, COORDINATION,

COMPLACENCY, AND CRITIQUE.

        26.     The overall lesson of the Seven C’s is that speed, decisiveness, and familiarity

with the 7 principles by police incident commanders, allows everyone to operate in a safer

environment during any and all protests. Rather than responding to an incident after it has boiled

over, appropriate deployment of police resources at the earliest possible moment significantly

decreases the odds of violence occurring.

        27.     The Proposed Settlement would prevent the NYPD from implementing several of

these critical principles. It undercuts the ability of an incident commander to take rapid decisive

action without the approval or notification of a Senior Executive who may or may not actually be

at the scene. Time lost in attempting these notifications, explaining a situation that will most

certainly be in flux and the justification for actions recommended will increase the risk of

violence by the time approval is received and officers arrive. The requirement of approval for

certain Red Light/Green Light arrests will prevent the police from acting appropriately in real

time during a fluid event.




2
 See, e.g., fema.gov/sites/default/files/2020-07/fema_nims_doctrine-2017.pdf;
policeforum.org/managing-a-critical-incident; irp.fas.org/doddir/army/fm3-19-15.pdf.

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          B.      The Proposed Settlement Also Disrupts the Use Of Force Continuum, A
                  Critical Element Of The Management Of Public Protests.

          28.     Another critical concept underlying the policing of public protests is the “Use of

Force Continuum”,3 a series of calibrated actions by police to employ, based on the actions and

compliance of the subject. These police actions are designed to gain compliance with the use of

the minimum amount of force. The levels of the Use of Force Continuum are: Presence, Verbal,

Physical Force, Deadly Force.

          29.     The first level on the Use of Force Continuum is the tool of Presence. An

officer’s mere presence, without verbal communication or commands, preserves peace and

prevents crimes. Just as drivers are more likely to obey a traffic signal when an officer in a

marked vehicle is visibly observing, in the face of a strong and visible police presence, protestors

or observers of a protest are less likely to engage in illegal acts that, in a group dynamic, may tend

to fuel escalating disorder. When presence is sufficient, no force by the police is necessary, and

peaceful protests may continue unabated.

          30.     The next level on the Continuum is Verbal. An officer can change a person’s

behavior with a verbal command in an effort to gain compliance with a lawful order or direction.

“Pull over” to a motorist, “Break it up” to a group occupying a sidewalk for an illegal dice game

are examples of everyday verbal commands. Generally, no force is necessary with verbal

commands. Again, the goal is compliance without the need to use force. If the Proposed

Settlement is approved as written the effective use of verbal commands will be compromised by

insufficient numbers of police resources at the scene and restrictions on use of the SRG, the

NYPD unit that is trained to respond to disorder and crowd control.




3
    See, e.g., https://nij.ojp.gov/topics/articles/use-force-continuum.
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        31.     An incident commander at a protest who cannot gain compliance with verbal

commands will have no recourse but to move to the next and third level on the use of force

continuum -- Physical force. This action of course increases the risks of injury to police and

protesters. The longer it takes to gain sufficient resources or appropriate resources to the scene,

the more difficult it is to change behavior early on in a degenerating protest. Physical force

involves the use of open or closed hands, electronic control devices (taser, for example) and

impact weapons (batons, for example).

        32.     Deadly Force, the fourth and final step on the Use of Force Continuum, is

controlled by the U.S Constitution, New York State Penal Law, Criminal Procedure Law, and

NYPD Patrol Guide.

        33.     The Proposed Settlement obstructs operation of the Use Of Force Continuum in

various ways. For example, unless there is an actual blockage of traffic or critical infrastructure,

at Tier I it prohibits even police presence beyond “protest liaisons” focused on communicating

with protestors unless “protesters specifically request the presence of officers.” ¶¶38-41.

        34.     This denies timely access to the most fundamental policing tool for avoiding

escalation. In the case of a protest that becomes unruly, disorderly, or violent, the delay in

actually getting sufficient numbers of police officers to the scene at the appropriate tiered

response level will result in losing the ability to control this behavior by mere presence, as would

be the case if immediate deployment of sufficient numbers had been allowed when the need was

perceived by the incident commander on the scene or prior to the event even beginning.

        35.     In addition, the tiered approach imposes remote oversight, and attendant delays,

on the deployment of equipment and tactics deemed necessary by the incident commander. This

will result in an increased risk of injury to police officers, protestors and the public. These



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proposed changes may result in officers arriving and having to move to level 3 on the Use Of

Force Continuum, Physical Force, due to the Proposed Settlement’s mandate that police presence

should be limited or not present at the inception of the protest (Tier I, ¶¶39-41) or officers not

being allowed to use personal protective equipment without approval (Tier I ¶41), or certain

officers (SRG) not being allowed to be utilized without the FAA Senior Executive’s approval

(Tier III, ¶53). The Proposed Settlement also creates an opportunity for serious injuries at Tier IV

(¶¶59-61) because it allows for a continuation of the protest after a dispersal order has been

issued. Confusion, chaos and serious risks of injury to police officers trying to implement this

Proposed Settlement can be expected to occur.

    C. Summary of Other Examples of How the Proposed Settlement Increases Safety
       Risks to Officers

        36.       Although this summary is necessarily non-exhaustive given the Proposed

Settlement’s extraordinary complexity, I collect here examples of other specific provisions that

jeopardize the safety of officers, protestors, and the public:

                 Requiring that the NYPD move to the highest tier only if green light
                  violations are "widespread", with no standard for what is deemed to be
                  "widespread". (¶57.)

                 Limiting officer deployment (e.g., ¶¶40-41, 45-47, 53) without making
                  explicit that the safety of the officers can be factored into how and how
                  many officers are deployed to police FAA events.

                 Infringing on the public’s right to seek police protection and on police-
                  community relations by prohibiting police presence at Tier I FAA events
                  even when requested by the public. (¶38.)

                 Requiring that a Captain or higher be designated as the Incident
                  Commander at every FAA event (except where it may "not escalate
                  beyond Tier I"). (¶23.) This reflects a lack of recognition of the number
                  of such events that the NYPD manages each year without incident, many
                  with sergeants or lieutenants as the ranking officer, and the importance of
                  the Department’s professional expertise in determining which ranks


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      should be present at each event based on past experiences, knowledge of
      the participant groups, and the inevitability of limited resources.

      Moreover, at least in the case of unanticipated or spontaneous FAA
      events, the incident commander title will by nature of the circumstances,
      flow from the first officer on the scene, to the first supervisor on the scene,
      to higher ranking supervisors on the scene. The cumbersome structure
      here risks creating delay in taking appropriate action due to no Captain or
      FAA Senior Executive being available.

     Severely impairing the ability of the Incident Commander and the
      Department itself to deploy officers or units where and when needed. (¶24,
      26-27, 30).

     Directing the manner in which special protest liaison officers are deployed
      and how they are to interact with the leaders of the FAA event. (¶¶41, 52).

      Protest liaison officers work for the Incident Commander and take
      direction and orders from that person. In directing when such officers
      should be deployed "into the crowd", the Proposed Settlement denies the
      Incident Commander discretion to deploy these resources as needed based
      on the circumstances he or she observes. Moreover, in cases where no
      FAA leaders step forward it is even more dangerous for these officers to
      be deployed "into the crowd" as their effectiveness and ability to control
      the group is non-existent in that scenario.

     Prohibiting patrol officers deployed at Tier I to reroute vehicular or
      pedestrian traffic where a protest “temporarily blocks vehicular or
      pedestrian traffic or otherwise obstructs public streets or sidewalks” from
      using “equipment exclusively associated with” SRG units, “such as flex
      cuffs.” (¶41.)

      SRG officers carry and wear helmets with face shields, flex cuffs, batons,
      and shields. These are defensive in nature. None of this equipment is
      “associated exclusively” with SRG, as other officers may use it if and as
      necessary; thus, the inclusion of “flex cuffs” as an example of the
      equipment subject to this ban nullifies what might otherwise be the
      meaning of the word “exclusively.” It seems to be the intent of the
      Proposed Settlement that the use of face shields, batons, and shields is
      prohibited to non-SRG officers deployed to reroute traffic. This may
      create a situation where these officers need the equipment, but it will not
      be immediately available to them. This raises the unnecessary risk of
      injury to officers.




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     Requiring those officers who are deployed at Tier I to reroute vehicular or
      pedestrian traffic to “whenever possible accommodate the demonstration”,
      without clarifying that they may first address the obstruction. (¶41.)

      This makes a dangerous assumption about detouring vehicular and or
      pedestrian traffic when the protest blocks streets, sidewalks, or otherwise
      blocks vehicles or pedestrian traffic, and creates the risk of a dangerous
      situation when protesters meet vehicles or pedestrians who come upon the
      event unknowingly.

      It is far safer and easier to accommodate the protest if officers have first
      established control over the movement of pedestrian or vehicle traffic into
      all intersections, sidewalks and the like. Attempting to “accommodate the
      demonstration” before doing that may result in a panicked motorist or
      aggressive protester taking action that will require police action to restore
      order, increasing the risk of injury to officers and the public.

     Requiring that, in order to move to Tier II, the Incident Commander, "in
      consultation with the FAA Senior Executive", must "reasonably believe[]
      that Green Light violations are imminent but have not yet occurred," and
      obliging those on scene to consult with those not on scene where
      violations such as assaults, throwing objects, lighting fires, property
      damage, are "imminent". (¶43)

     Requiring at Tier III that, where the Incident Commander has authorized targeted
      enforcement "to address the specific individuals among the crowd" who may be
      engaging in unlawful conduct, that “liaisons and patrol officers deployed to
      address traffic concerns should continue to facilitate” the demonstration. (¶¶52-
      53.)

      A dangerous conflict is raised by requiring SRG officers both to make arrests and
      ensure continuation of the demonstration while, at the same time, requiring other
      officers to ensure continuation of the demonstration. Public safety and officer
      safety concerns require that officers should not pursue potentially conflicting
      goals -- the continuation of the protest should cede its precedence to public safety
      concerns. Continuation of the protest may occur after order has been restored and
      the risk of injury to officers has been reduced.

     Limiting the use of police resources that may otherwise be necessary at a
      Tier II event. (¶47.)

     Requiring joint FAA Senior Executive and Incident Commander
      authorization to move to Tier IV, ¶58, and then only if "targeted efforts to
      address widespread green light violations" "continue unabated and cannot
      be addressed through further de-escalation or targeted enforcement" ¶57,


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                   without providing clear guidance as to how those determinations are to be
                   made.

                  Moreover, there is an incongruity between who can authorize movement
                   to Tiers II and III. Specifically, ¶50 provides that the Incident Commander
                   must authorize a Tier III response, but for a lower level, Tier II, ¶44, says
                   that the FAA Senior Executive must authorize the move.

                  Paragraphs 14 and 89(b), related to right to record, fails to make clear that
                   the right to record under state law does not permit the person to "engage in
                   actions that physically interfere with law enforcement activity," or
                   ''physically interfere with an official and lawful police function" under
                   City law.

                  Restricting use of encirclement as written in ¶68 creates ambiguity as to its
                   permissible usage for other law enforcement purposes, for example, to maintain
                   order in the event of crowd-splitting during protests.

IV.      CONCLUSION

         37.       The tiered response plan in the Proposed Settlement increases the risk to the

safety of police officers, protestors, and the public, due to the unreasonable requirements of little

or no police presence at protests, delays caused by the need to notify and or get authorization

from the NYPD executives before moving from Tier II to III or IV or to effect necessary arrests,

limits on protective equipment used by police, and unreasonable restrictions on the use of trained

personnel at the scene prior to the event degenerating into a mob or riot. Reinforcements may

not be mobilized in time to prevent injuries or damages due to the tiered response which will

slow decision making and response capabilities of the police.

         38.       The Proposed Settlement undercuts the authority of the on-scene incident

commander to make appropriate tactical decisions based on her/his “good faith” judgment to

protect life and property while simultaneously ensuring the rights of protesters. Restraints on the

personnel allowed or when and who can effect arrests will create confusion and chaos at the

scene.


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        39.     lbe Proposed Settlement contains language that will require a senior executive

from police ~eadquarters to make decisions, based on second-hand information from an incident

commander, as to which tier the police response should be, what protective equipment the police

should be allowed to use, and whether additional officers and/or specialized units like the SRG

may be deployed. In the chaotic circumstance of a protest at risk of escalation, this will

significantly increase the risk of injury to officers, protestors and the public.

Date: New York, New York
      October 6, 2023




                                                                          Louis Anemone




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